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   Mail: P.O. Box 5231, Princeton, NJ 08543-5231

   212 Carnegie Center
   Suite 400
   Princeton, NJ 08540
   Tel 609.896.3600 Fax 609.896.1469
   www.foxrothschild.com




  Jeffrey M. Pollock
  Certified by the Supreme Court of New Jersey
       as a Civil Trial Attorney
  Direct Dial: (609) 896-7660
  Email Address: jmpollock@foxrothschild.com

                                                       July 29, 2024
  Via PACER/ECF

  The Honorable Rukhsanah L. Singh, U.S.M.J.
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Courtroom 7W
  Trenton, New Jersey

             Re:           In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                           and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

  Dear Judge Singh:

          Our Firm represents Beasley Allen and Andy D. Birchfield, Jr., Esq. (together “Beasley
  Allen”) in the pending Motion to Disqualify before the Court. See ECF No. 28760. On July 19,
  2024, the Court ordered the parties to the Motion to show cause “why this Court should not adopt
  the State MCL’s findings of facts and conclusions of law.” See ECF No. 32984. Beasley Allen
  respectfully submits that the State MCL’s findings of fact and conclusions of law should be
  adopted by this Court as they are consistent with and supported by Supreme Court of New Jersey
  precedent, the New Jersey Rules of Professional Conduct, and the testimony and evidence
  presented before Your Honor and Judge Porto. As J&J has merely regurgitated the same arguments
  it previously raised, (and continues to do so, see ECF No. 33026), we stand on our Brief in
  Opposition of May 17, 2024 (ECF No. 32206), as well as our Plenary Brief filed on May 24, 2024
  (ECF No. 32267), which both this Court and Judge Porto considered during the course of the
  hearings on March 25, 2024, April 10, 2024, and May 3, 2024.

             Thank you for your time and attention to this matter.
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  The Honorable Rukhsanah L. Singh, U.S.M.J.
  July 29 2024
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                                                   Respectfully submitted,

                                                   /s/ Jeffrey M. Pollock

                                                   JEFFREY M. POLLOCK

  cc: All Counsel (via ECF)
